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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

ANDRE NEWTON, for himself and all other :                CIVIL ACTION NO:
similarly situated individuals,         :
      Plaintiffs                        :
                                        :
              v.                        :
                                        :
CHEETAH EXPRESS, INC., and              :
NAZEER BUTT                             :
      Defendant                         :                OCTOBER 22, 2018


              COLLECTIVE AND CLASS ACTION COMPLAINT

I. NATURE OF CASE

  1. This action is brought to recover unpaid overtime wages and other monies

     pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

     (“FLSA”), and the Connecticut Minimum Wage Act Conn. Gen. Stat. §§

     31-58 et seq. (“CMWA”) for plaintiff and all similarly situated persons (i.e.

     Drivers) who work or have worked at Cheetah Express, Inc. (“Cheetah”)

     during the period of three years prior to the filing of this Complaint—viz.,

     since October 5, 2015.

  2. Plaintiff alleges, on behalf of himself individually and all other similarly

     situated current and former employees of Defendant who elect to opt into

     this action, that they are entitled to: (i) compensation for unpaid overtime

     pay and (ii) liquidated damages, pre- and post-judgment interest, and

     attorneys’ fees and costs pursuant to the FLSA, the CMWA, and

     Connecticut Common Law.




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II. JURISDICTION AND VENUE

   3. This Court has subject matter jurisdiction of this case pursuant to 29

      U.S.C. § 216(b) and 28 U.S.C. §§ 1331 and 1337, and has supplemental

      jurisdiction over plaintiff’s State law claims pursuant to 28 U.S.C. § 1367.

   4. Venue is proper in the District of Connecticut under 28 U.S.C. § 1391 as

      Cheetah is located within the State of Connecticut.

III. THE PARTIES

   5. Plaintiff Andre Newton (“Plaintiff”) is an adult individual residing in

      Hartford, Connecticut. Plaintiff was employed by Defendant from October

      2015 until April 7, 2018. Plaintiff worked in the position of driver while

      employed by Defendant.

   6. Defendant Cheetah Express, Inc. is a Connecticut Corporation with a

      principal place of business located at 20 Calloway Drive, Milford,

      Connecticut 06461. Cheetah is a package delivery company which

      employs drivers to pick up packages and deliver them throughout the state

      of Connecticut.

   7. At all times relevant to this action, Cheetah has been an “enterprise

      engaged in interstate commerce” within the meaning of the FLSA.

   8. During the relevant period, Cheetah has had employees engaged in

      commerce or in the production of goods for commerce and handling,

      selling, or otherwise working on goods or materials that have been moved

      in or produced for commerce by any person.




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  9. During the relevant period, Cheetah has had an annual gross volume of

     sales in excess of $500,000.

  10. At all relevant times, Cheetah has been an “employer” within the meaning

     of Conn. Gen. Stat. Section 31-58(d).

  11. Defendant Nazeer Butt (“Butt”) is sued individually in his capacity as an

     owner, officer and/or agent of Cheetah.

  12. Butt has and exercises authority to hire and fire employees, direct the

     manner in which employees perform their daily duties and assignments,

     and establishes the pay practices and work and scheduling policies at

     Cheetah.

  13. Butt exercises sufficient control over Cheetah’ operations to be

     considered Plaintiff’s employer under the FLSA and CMWA.

  14. Butt is regularly present at Cheetah overseeing employees’ work and

     making day to day decisions for the business.

  15. Hereinafter, Butt and Cheetah are collectively referred to as “Defendants.”

IV. COLLECTIVE ACTION ALLEGATIONS

  16. The claims in this Complaint arising out of the FLSA are brought by

     Plaintiff on behalf of himself and all similarly situated employees (i.e.

     employees of Cheetah working in the position of Driver or other similarly

     titled position) who work or have worked at Cheetah between October 5,

     2015 and the date of a final judgment in this matter and elect to opt-in to

     this action (the “FLSA Collective”).




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17. Upon information and belief, the FLSA Collective consists of

   approximately 25 or more similarly situated current and former employees

   of Cheetah, who, over the last three years have been victims of

   Defendants’ common policy and practices that have violated their rights

   under the FLSA by, inter alia, willfully denying them wages due under the

   FLSA.

18. At all relevant times, Defendants classified Drivers as non-exempt under

   the FLSA and the CMWA and paid them on flat rate per diem basis.

19. At various times over the past three years, Drivers customarily worked

   more than forty hours per week.

20. Defendants paid Drivers on a “per diem” basis of straight time, rather than

   paying them at the rate of time and a half for all hours worked over forty

   hours per week.

21. As part of its regular business practices, Defendants have intentionally,

   willfully, and repeatedly harmed Plaintiff and the FLSA Collective by

   engaging in a pattern, practice, and/or policy of violating the FLSA. This

   policy and pattern or practice includes, inter alia, failing to pay Plaintiff and

   the FLSA Collective the proper overtime wage for all overtime hours

   worked.

22. Defendants have engaged in this unlawful conduct pursuant to a corporate

   policy of minimizing labor costs and denying employees compensation by

   knowingly violating the FLSA and CMWA.




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  23. Defendants’ unlawful conduct has been intentional, willful, and in bad faith,

     and has caused significant damage to Plaintiff and the FLSA Collective.

  24. The FLSA Collective would benefit from the issuance of a court-

     supervised notice of the present lawsuit and the opportunity to join the

     present lawsuit. Those similarly situated employees are known to

     Cheetah, are readily identifiable by Cheetah, and are locatable through

     Cheetah’s records. These similarly situated employees should be notified

     of and allowed to opt in to this action, pursuant to 29 U.S.C. § 216(b).

V. CLASS ACTION ALLEGATIONS

  25. The claims in this Complaint arising out of the CMWA are brought by

     Plaintiff under Rule 23 of the Federal Rules of Civil Procedure, on behalf

     of himself and a class of persons consisting of:

         All current and former Drivers (or other similar positon)
         employed by Cheetah Express, Inc., between October 5, 2015
         and the date of the final judgment in this matter (the “Rule 23
         Class”).

  26. Excluded from the Rule 23 Class are Defendants, Defendants’ legal

     representatives, officers, directors, assigns, and successors, or any

     individual who has, or who at any time during the class period has had, a

     controlling interest in Defendant Cheetah; the Judge(s) to whom this case

     is assigned and any member of the Judges’ immediate family; and all

     persons who will submit timely and otherwise proper requests for

     exclusion from the Rule 23 Class.

  27. The Rule 23 Class are so numerous that joinder of all members is

     impracticable. Upon information and belief, the size of the Rule 23 Class


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   is at least 25 individuals. Although the precise number of such employees

   is unknown, the facts on which the calculation of that number depends are

   presently within the sole control of Defendants.

28. Defendants have acted or has refused to act on grounds generally

   applicable to the Rule 23 Class, thereby making appropriate final

   injunctive relief or corresponding declaratory relief with respect to the Rule

   23 Class as a whole.

29. Common questions of law and fact exist as to the Rule 23 Class that

   predominate over any questions only affecting them individually and

   include, but are not limited to, the following:

          a. whether Defendants adequately compensated Plaintiff and the
             Rule 23 Class for hours worked in excess of 40 per workweek;

          b. whether Defendants failed to keep true and accurate time and
             pay records for all hours worked by Plaintiff and the Rule 23
             Class, and other records required by the CMWA;

          c. whether Defendants’ policy of failing to pay Drivers was
             instituted willfully or with reckless disregard of the law; and

          d. the nature and extent of class-wide injury and the measure of
             damages for those injuries.

30. The claims of Plaintiff are typical of the claims of the Rule 23 Class he

   seeks to represent. Plaintiff and all of the Rule 23 Class members work,

   or have worked, for Defendant Cheetah as Drivers at Cheetah Express,

   Inc. Plaintiff and the Rule 23 Class members enjoy the same statutory

   rights, including to be properly compensated for all hours worked. Plaintiff

   and the Rule 23 Class members have all sustained similar types of

   damages as a result of Defendants’ failure to comply with the CMWA and


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   the Connecticut Common Law. Plaintiff and the Rule 23 Class members

   have all been injured in that they have been uncompensated or under-

   compensated due to Defendants common policies, practices, and patterns

   of conduct.

31. Plaintiff will fairly and adequately represent and protect the interests of the

   Rule 23 Class. Plaintiff understands that as class representative, he

   assumes a fiduciary responsibility to the class to represent its interests

   fairly and adequately. Plaintiff recognizes that as class representative he

   must represent and consider the interests of the class just as he would

   represent and consider his own interests. Plaintiff understands that in

   decisions regarding the conduct of the litigation and its possible settlement

   he must not favor his own interests over the class. Plaintiff recognizes

   that any resolution of a class action must be in the best interest of the

   class. Plaintiff understands that in order to provide adequate

   representation, he must be informed of developments in litigation,

   cooperate with class counsel, and testify at deposition and/or trial. Plaintiff

   has retained counsel competent and experienced in complex class actions

   and employment litigation. There is no conflict between Plaintiff and the

   Rule 23 Class members.

32. A class action is superior to other available methods for the fair and

   efficient adjudication of this litigation. The Rule 23 Class have been

   damaged and are entitled to recovery as a result of Defendants’ violations

   of the CMWA, the Connecticut Common Law and Conn. Gen. Stat. § 52-



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   564, as well as its common and uniform policies, practices, and

   procedures. Although the relative damages suffered by individual Rule 23

   Class members are not de minimis, such damages are small compared to

   the expense and burden of individual prosecution of this litigation. The

   individual plaintiffs lack the financial resources to conduct a thorough

   examination of Defendant’s timekeeping and compensation practices and

   to prosecute vigorously a lawsuit against Defendants to recover such

   damages. In addition, class litigation is superior because it will obviate the

   need for unduly duplicative litigation that might result in inconsistent

   judgments about Defendants’ practices.

33. This action is properly maintainable as a class action under Federal Rule

   of Civil Procedure 23(b)(3).

COUNT ONE: FAILURE TO PAY OVERTIME IN VIOLATION OF THE FAIR
                    LABOR STANDARDS ACT
      (Brought on behalf of Plaintiff and the FLSA Collective)
            (as against Defendants Cheetah and Butt)

34. Plaintiff repeats and re-alleges all foregoing paragraphs as if fully set forth

   herein.

35. Defendants are an employer subject to the provisions of 29 U S. C. 201

   et. seq.

36. Plaintiff is or has been a n employee of the Defendant C h e e t a h during

   the statutory period.

37. Plaintiff was employed by Defendants at its Milford location as a Driver.

   The job duties of drivers employed by Defendant Cheetah included the




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  receipt and delivery of packages throughout and within the state of

  Connecticut.

38. At all times during his employment with Defendant Cheetah, Plaintiff

    worked between 53 and 60 hours per week during each week of his

    employment with Defendant Cheetah.

39. Defendants failed to pay Plaintiff and other similarly situated Drivers

    overtime at the rate of one and one-half times their regular hourly rate for

    all hours worked in excess of forty (40) per week.

40. Defendants have willfully violated the FLSA by knowingly and

    intentionally failing to pay plaintiffs and the FLSA Collective overtime

    wages for all of the hours they worked in excess of forty in a workweek.

41. Defendants have not made a good faith effort to comply with the FLSA

    with respect to Plaintiff’s and the FLSA Collective’s compensation.

42. Defendants were aware or should have been aware that the practices

    described in this Complaint were unlawful and has not made a good faith

    effort to comply with the FLSA with respect to the compensation of

    Plaintiff and the FLSA Collective.

43. Due to Defendants’ violations of the FLSA, Plaintiff and the FLSA

    Collective are entitled to recover their unpaid overtime wages, liquidated

    damages, reasonable attorneys’ fees and costs of the action, and pre-

    and post-judgment interest.

   COUNT TWO: FAILURE TO PAY OVERTIME IN VIOLATION OF THE
                 CONNECTICUT MINIMUM WAGE AGE
        (Brought on behalf of Plaintiff and the Rule 23 Class)
           (as against Defendants Cheetah and Butt)


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44. Plaintiff repeats and re-alleges all foregoing paragraphs as if fully set

    forth herein.

45. Under the CMWA and supporting Connecticut State Department of

    Labor Regulations, Defendants were required to pay Plaintiff and the

    Rule 23 Class one and one half (1½) times the regular rate of pay for all

    hours worked in excess of forty in a workweek.

46. Defendants have failed to pay Plaintiff and the Rule 23 Class the

    overtime wages to which they are entitled under the CMWA.

47. Defendants have willfully violated the CMWA by knowingly and

    intentionally failing to pay Plaintiff and other the Rule 23 Class overtime

    wages.

48. Due to Defendants’ willful violations of the CMWA, Plaintiff and the Rule

    23 Class are entitled to recover their unpaid overtime wages, reasonable

    attorneys’ fees and costs of the action, liquidated damages, and pre- and

    post-judgment interest.

      COUNT THREE: QUANTUM MERUIT/UNJUST ENRICHMENT
    (Brought On Behalf of Plaintiff and All Others Similarly Situated)
             (as against Defendants Cheetah and Butt)

49. Plaintiff repeats and re-alleges all foregoing paragraphs as if fully set

    forth herein.

50. Defendants failed to pay monies owed and owing to Plaintiff and the

    Rule 23 Class for wages. Defendants have been unjustly enriched by




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    this failure and justice requires that Defendants pay Plaintiff and the Rule

    23 Class for such monies owed and owing.

51. Due to Defendants’ willful violations of the Connecticut common law,

    Plaintiff and the Rule 23 Class are entitled to restitution.

52. Plaintiff a n d t h e Ru le 2 3 C la s s made significant contributions to

    the establishment and growth of Defendant Cheetah.

53. Plaintiff and the Rule 23 Class conferred a valuable benefit upon the

    Defendants.

54. Plaintiff and the Ru le 23 Cla ss provided the services with the

    expectation of receiving reasonable compensation.

55. Reasonable compensation must be paid to the Plaintiff a n d t h e R u l e

    2 3 C la s s in order to avoid injustice and unjust enrichment.




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                               PRAYER FOR RELIEF

 WHEREFORE, Plaintiff, individually and on behalf of the FLSA Collective, and

the Rule 23 Class, respectfully requests that this Court enter a judgment:

       a.     authorizing the issuance of notice at the earliest possible time to all

Drivers who are presently working at, or who have worked at any time during the

three years immediately preceding the filing of this suit, up through and including

the date of this Court’s issuance of court-supervised notice, at Cheetah Express,

Inc.. Such notice shall inform them that this civil action has been filed, of the

nature of the action, and of their right to join this lawsuit if they believe they were

denied proper wages;

       b.     declaring that Defendants violated the overtime provisions of the

FLSA, the Connecticut Labor Law, and supporting Connecticut Department of

Labor Regulations;

       c.     declaring that Defendants’ violations were willful;

       d.     certifying this case as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure;

       e.     designating Plaintiff as representative of the Rule 23 Class and

counsel of record as Class Counsel;

       f.     awarding Plaintiff, the FLSA Collective, and the Rule 23 Class

damages for unpaid overtime wages;

       h.     granting judgment in favor of Plaintiff, the FLSA Collective, and the

Rule 23 Class for compensatory damages due to Defendants’ unjust enrichment;




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      j.     awarding Plaintiff, the FLSA Collective, and the Rule 23 Class

liquidated damages in an amount equal to twice the total amount of the wages

found to be due, pursuant to the FLSA and the CMWA;

      k.      awarding Plaintiff, the FLSA Collective, and the Rule 23 Class

reasonable attorneys’ fees, costs, and pre-judgment and post-judgment interest

pursuant the FLSA and the CMWA; and

      l.     such other and further relief in law or equity as the Court deems

just and proper.


                                 PLAINTIFF, ANDRE NEWTON,
                                 INDIVIDUALLY, AND ON BEHALF OF ALL
                                 SIMILARLY SITUATED INDIVIDUALS

                                        By     /s/ William G. Madsen
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